Exhibit 9
                                                                                                              
                                                                                                                  0




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Locate a Beretta dealer near you to get a first-hand look at our line of firearms, accessories and apparel.

Search by:

   City, State    Zip Code

 City:


   Natik


 State:


    MA              100 mile



                                          CLEAR           S E A R C H B E R E T TA
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1 of -40 | View Paged
                       NATICK OUTDOOR STORE
State:
MA
City:
NATICK
Address:
38 NORTH AVENUE
ZIP/Postal Code:
01760
Email:
derick.nos@gmail.com
Phone:
5086539400

                           0.6 miles | Directions | Map | Store Details




                       MASS FIREARMS SCHOOL
State:
MA
City:
HOLLISTON
Address:
100 KUNIHOLM DR.
ZIP/Postal Code:
01746
Email:
ESTORE@MASSFIREARMS.COM
Phone:
800308-6212

                          6.53 miles | Directions | Map | Store Details




 BASS PRO SHOPS OUTDOOR WORLD FOXBOROUGH
State:
MA
City:
FOXBOROUGH
Address:
#1 PATRIOT PLACE
ZIP/Postal Code:
02035
Email:
Phone:

                          13.99 miles | Directions | Map | Store Details
                     ATLANTIC TACTICAL (NY)
State:
MA
City:
WESTWOOD
Address:
379 UNIVERSITY AVE
ZIP/Postal Code:
02090
Email:
Phone:

                        14.21 miles | Directions | Map | Store Details
                         SMARK OUTDOORS LLC
State:
MA
City:
BROOKLINE
Address:
DBA SPORTS AND GADGETS
ZIP/Postal Code:
02445
Email:
Phone:

                           15.62 miles | Directions | Map | Store Details
                             CABELA'S 063
State:
MA
City:
BERLIN
Address:
44 HIGHLAND COMMON EAST
ZIP/Postal Code:
01503
Email:
Phone:

                          18.99 miles | Directions | Map | Store Details
                     FOUR SEASONS G SHOP
State:
MA
City:
WOBURN
Address:
76 R WINN ST
ZIP/Postal Code:
01801
Email:
fsguns@comcast.net
Phone:
7819323133

                        19.34 miles | Directions | Map | Store Details
                               ON TARGET
State:
MA
City:
DRACUT
Address:
1852 BRIDGE STREET
ZIP/Postal Code:
01826
Email:
JOE@DRACUTGUNRANGE.COM
Phone:
978967-4933

                         28.38 miles | Directions | Map | Store Details
                               ON TARGET
State:
MA
City:
DRACUT
Address:
1852 BRIDGE ST
ZIP/Postal Code:
01826
Email:
JOE@DRACUTGUNRANGE.COM
Phone:
978967-4933

                         28.38 miles | Directions | Map | Store Details
                       ROBIN HOLLOW OUTFITTERS
State:
RI
City:
MAPLEVILLE
Address:
200 B PHEASANT DRIVE
ZIP/Postal Code:
02839
Email:
rhoemail@aol.com
Phone:
4015680331

                           29.66 miles | Directions | Map | Store Details
                   DICK'S SPORTING GOODS 166
State:
MA
City:
SEEKONK
Address:
275 HIGHLAND AVE
ZIP/Postal Code:
02771
Email:
Phone:

                        33.18 miles | Directions | Map | Store Details
                       D L SHOOTING SUPPLIES
State:
RI
City:
WARWICK
Address:
3314 WEST SHORE ROAD
ZIP/Postal Code:
02886
Email:
dlshooting@gmail.com
Phone:
4017381889

                          40.39 miles | Directions | Map | Store Details
                         DICK'S SPORTING GOODS 161
State:
RI
City:
WARWICK
Address:
1350 EAST BALD HILL RD
ZIP/Postal Code:
02886
Email:
Phone:

                              41.03 miles | Directions | Map | Store Details
                          HERITAGE GUN COIN CO INC
State:
RI
City:
WEST WARWICK
Address:
250 COWESETT AVE 4
ZIP/Postal Code:
02893
Email:
info@heritagegunandcoin.com
Phone:
401826-000

                               42.39 miles | Directions | Map | Store Details
                OLD GLORY GUNS & AMMO LLC
State:
NH
City:
GREENVILLE
Address:
781 FITCHBURG ROAD
ZIP/Postal Code:
03048
Email:
SALES@OLDGLORYGUNSANDAMMO.COM
Phone:
6038782854

                           44.45 miles | Directions | Map | Store Details
                   DICK'S SPORTING GOODS 237
State:
MA
City:
N DARTMOUTH
Address:
475 STATE RD
ZIP/Postal Code:
02747
Email:
Phone:

                        50.12 miles | Directions | Map | Store Details
                     SHOOTERS OUTPOST, LLC.
State:
NH
City:
HOOKSETT
Address:
1158 HOOKSETT RD
ZIP/Postal Code:
03106
Email:
cmcloud@gunsnh.com
Phone:
603232-6125

                         52.6 miles | Directions | Map | Store Details
       BASS PRO SHOPS SPORTSMANS CENTER #075
State:
NH
City:
HOOKSETT
Address:
2 COMMERCE DR
ZIP/Postal Code:
03106
Email:
Phone:

                   53.33 miles | Directions | Map | Store Details
                   PEACE DALE SHOOTING PRESERVE
State:
RI
City:
WAKEFIELD
Address:
130 PEARLS WAY
ZIP/Postal Code:
02879
Email:
Phone:

                          56.34 miles | Directions | Map | Store Details
                   PEACE DALE SHOOTING PRESERVE
State:
RI
City:
WAKEFIELD
Address:
130 PEARLS WAY
ZIP/Postal Code:
02879
Email:
Phone:

                          56.34 miles | Directions | Map | Store Details
                         FARMARS USA LLC PREMIUM
State:
RI
City:
WYOMING
Address:
87 KINGSTOWN ROAD
ZIP/Postal Code:
02898
Email:
alec@thepreserveri.com
Phone:

                              58.08 miles | Directions | Map | Store Details
                          FAMARS USA LLC OLD
State:
RI
City:
WYOMING
Address:
87 KINGSTOWN ROAD
ZIP/Postal Code:
02898
Email:
david@thepreserveri.com
Phone:
401247-4867

                            58.08 miles | Directions | Map | Store Details
                          FAMARS USA LLC
State:
RI
City:
WYOMING
Address:
87 KINGSTOWN ROAD
ZIP/Postal Code:
02898
Email:
david@thepreserveri.com
Phone:
401247-4867

                          58.09 miles | Directions | Map | Store Details
                           FAMARS USA LLC
State:
RI
City:
WOMING
Address:
87 KINGSTOWN ROAD
ZIP/Postal Code:
02898
Email:
david@the preserveri.com
Phone:
401247-4867

                           58.09 miles | Directions | Map | Store Details
                        PELLETIER'S SPORT SHOP
State:
NH
City:
JAFFERY
Address:
105 PETERBORO STREET
ZIP/Postal Code:
03452
Email:
brucepss1@comcast.net
Phone:
6035327180

                            59.3 miles | Directions | Map | Store Details
                           WHITE BIRCH ARMORY
State:
NH
City:
DOVER
Address:
80 INDUSTRIAL PARK DRIVE
ZIP/Postal Code:
03820
Email:
Phone:

                             69.72 miles | Directions | Map | Store Details
                           WHITE BIRCH ARMORY
State:
NH
City:
DOVER
Address:
80 INDUSTRIAL PARK DRIVE
ZIP/Postal Code:
03820
Email:
Phone:

                             69.72 miles | Directions | Map | Store Details
                      KITTERY TRADING POST
State:
NH
City:
DOVER
Address:
115 INDUSTRIAL PARK
ZIP/Postal Code:
03820
Email:
firearms@ktp.com
Phone:
2074392700

                         69.93 miles | Directions | Map | Store Details
                      REN ARMS INC.
State:
NH
City:
BARRINGTON
Address:
55 CALEF HWY STE 1
ZIP/Postal Code:
03825
Email:
devon@renarms.com
Phone:
6039944867

                     71.11 miles | Directions | Map | Store Details
                      REN ARMS INC.
State:
NH
City:
BARRINGTON
Address:
55 CALEF HWY STE 1
ZIP/Postal Code:
03835
Email:
DERON@RENARMS.COM
Phone:
6039944867

                     71.11 miles | Directions | Map | Store Details
                   KITTERY TRADING POST
State:
ME
City:
KITTERY
Address:
301 US ROUTE 1
ZIP/Postal Code:
03904-0904
Email:
firearms@ktp.com
Phone:
2074399222

                      71.4 miles | Directions | Map | Store Details
                    R & R SPORT SHOP LLC
State:
MA
City:
BELCHERTOWN
Address:
16 FEDERAL STREET
ZIP/Postal Code:
01007
Email:
richatrr@aol.com
Phone:

                       73.24 miles | Directions | Map | Store Details
                        RENAISSANCE FIREARMS
State:
NH
City:
GONIC
Address:
19 MAIN STREET
ZIP/Postal Code:
03839
Email:
redwood@metrocast.net
Phone:
6033354116

                           73.37 miles | Directions | Map | Store Details
                           COYOTE CREEK OUTFITTERS
State:
NH
City:
ROCHESTER
Address:
22 FARMINGTON RD
ZIP/Postal Code:
03867
Email:
DavidT@coyote-creek-outfitters.com
Phone:
6033323270

                                     76.12 miles | Directions | Map | Store Details
                     FOUR SEASONS GUNS
State:
NH
City:
ROCHESTER
Address:
21 MAIN STREET
ZIP/Postal Code:
03839
Email:
fsguns@comcast.net
Phone:
7819323133

                       78.15 miles | Directions | Map | Store Details
                     BARN STORE OF NEW ENGLAND
State:
NH
City:
SALISBURY
Address:
96 OLD TURNPIKE RD
ZIP/Postal Code:
03268
Email:
Katie.Mason@barnstore.com
Phone:
6036482888

                            79.47 miles | Directions | Map | Store Details
                           CAPE GUN WORKS
State:
MA
City:
HYANNIS
Address:
96 AIRPORT ROAD
ZIP/Postal Code:
02601
Email:
MICHAEL@CAPEGUNWORKS.COM
Phone:
508771-3600

                           83.69 miles | Directions | Map | Store Details
                                  POWDERHORN
State:
MA
City:
HYANNIS
Address:
210 BARNSTABLE RD
ZIP/Postal Code:
02601
Email:
mark@powderhornoutfitters.com
Phone:
5087758975

                                84.87 miles | Directions | Map | Store Details
                     DICK'S SPORTING GOODS 168
State:
CT
City:
ENFIELD
Address:
130 ELM ST
ZIP/Postal Code:
06082
Email:
Phone:

                                87.17 miles | Directions | Map | Store Details




                                        CABELA'S
State:
CT
City:
EAST HARTFORD
Address:
475 EAST HARTFORD BLVD, NORTH
ZIP/Postal Code:
06118
Email:
Phone:

                                95.16 miles | Directions | Map | Store Details
                               1 of -40 | View Paged


  FIREARMS

  CUSTOMER SERVICE

  COMMUNITY


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                            Store Locations - Shop By
                                 Our-Distributors




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